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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON             Civil Action No. 3:16-md-2738-
   TALCUM POWDER PRODUCTS               FLW-LHG
   MARKETING, SALES
   PRACTICES, AND PRODUCTS              MDL No. 2738
   LIABILITY LITIGATION


   This Document Relates to All Cases




  THE PLAINTIFFS’ STEERING COMMITTEE’S REPLY IN SUPPORT OF
   THE ENTRY OF PROPOSED CMO-7(A) AND IN OPPOSITION TO THE
              OBJECTIONS OF CERTAIN PLAINTIFFS
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  I.    INTRODUCTION

        In response to the Plaintiffs’ Steering Committee’s Motion for Entry of Case

  Management Order 7(A) Establishing the TALC (MDL 2738) Common Benefit Fee

  and Expense Accounts To Compensate And Reimburse Attorneys For Services

  Performed And Expenses Incurred For Case Administration And The Common

  Benefit [Doc. No. 13487] (“Motion”), only a single1 objection, was filed.2 The law

  firms who filed the objection are not members of the Plaintiffs’ Executive

  Committee (“PEC”) or members of the Plaintiffs’ Steering Committee (“PSC”).

  Moreover, they have not performed any common benefit work in this MDL.3 Yet,


  1
    The PSC notes that Defendants have not commented on the Motion, which was
  expected, as the entry of an Order like what the PSC proposed as CMO-7(A) is
  commonplace in cases like this MDL. See, Memorandum in Support of the Plaintiffs’
  Steering Committee’s Motion for Entry of Case Management Order 7(A)
  Establishing the Talc (MDL No. 2738) Common Benefit Fee and Expense Accounts
  to Compensate and Reimburse Attorneys for Services Performed and Expenses
  Incurred for Case Administration and the Common Benefit [Doc. No. 13487-1]
  (“Memorandum”) at 11-13, citing numerous cases as precedent.
  2
    See, Objections of Certain Plaintiffs, filed June 22, 2020, [Doc. No. 13689] The
  PSC notes importantly that the objectors do not contest the authority of this Court to
  enter an order to govern as assessment of common benefit fees and expenses. Cf. id.
  at 3. Thus, what is at issue is the terms of the Order to govern the common benefit
  fee and expense assessment, not the power of the Court to enter an Order.
  3
    CMO-7 established a time and expense reporting mechanism for attorneys
  performing common benefit work, with the reports to be made to the Court-
  appointed auditor, Alan Winikur, CPA. The objectors have not reported any
  common benefit time and expenses to Mr. Winikur. Moreover, pursuant to CMO-7,
  only work and expenses authorized by the PEC/PSC was eligible to be reported to
  Mr. Winikur. The PEC/PSC never authorized any work or expenses for these three

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  they object to the entry of CMO-7(A). This is the unfortunate but classic gambit of

  counsel who do no work but expect to rely on the common benefit work and

  expenses of others to benefit their cases, and who do not want to bear a fair share of

  the cost of developing common benefit work product.

        These objectors raise five reasons why they believe the PSC’s Proposed

  CMO-7(A) should not be entered:

        1)     The PSC allegedly failed to support with information the
               magnitude and scope of the proposed assessment percentage;

        2)     The PSC allegedly failed to provide valid justification for a
               graduated assessment percentage;

        3)     The PSC’s proposal impermissibly provides for withholding of
               fees and expenses in state court cases over which this MDL has
               no jurisdiction;

        4)     The PSC’s proposal impermissibly empowers the PEC to modify
               the proposed percentages; and,

        5)     The PSC’s proposal impermissibly fails to address a mechanism
               for the refund of excess fees and expenses that may be escrowed.

        The PSC will respond to each of these contentions, demonstrating not only

  that they are without merit, but also, that they are not necessarily in context to the

  proposal the PSC has submitted, leading to the query by the PSC of whether the

  objections are nothing more than a recycle of previously used “canned” objections

  from another case. Indeed, a good part of the text of the objector’s memorandum



  objecting law firms and have no record of these firms even asking for an assignment
  of work to be performed.

                                            2
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  sounds more like an objection to a “final” award of and allocations of fees and

  expenses withheld, rather than objections to the fact of implementing an assessment

  against cases as they resolve, to be held in escrow, pending further order of the Court.

        Not at issue now is any request for the Court to:

        1)     set a final assessment percentage;

        2)     determine the gross aggregate fee for the common benefit work
               performed;

        3)     perform a lodestar crosscheck as to the amount of common
               benefit work performed in order to confirm the propriety of a fee
               award; and,

        4)     allocate fees and expenses for common work performed.

        None of these are at issue now, because these matters are not ripe for a Court

  decision. This, however, does not undermine that it is appropriate at this time for the

  PSC to seek entry of a common benefit fee and expense assessment order setting

  forth a percentage to protect the PSC and other common benefit attorneys for the

  extensive work they have performed to date.

        The Objectors insinuate that all that the PSC can offer now is work performed

  in an “early” timeframe. Id. at 2. (“Plaintiffs who choose to avail themselves of the

  common benefit work performed by the PSC in the “early” timeframe would be

  assessed an 8% holdback….[while] Plaintiffs who wait too long in deciding to utilize

  the PSC’s common benefit work are assessed at 12%...”).




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        But, as the Court knows, this case is far beyond an “early” timeframe. This

  MDL is quite well developed,4 particularly as to the common benefit aspects, with

  the PSC having discovered and produced evidence and expert reports to establish

  general causation, the Court having held an extensive Daubert hearing and made

  rulings thereon, and with the case now proceeding into a bellwether stage.5 Thus, the

  suggestion that this case is in an early stage and hence it is premature to consider

  setting an assessment percentage is false.

        Moreover, it is common in MDL cases for the MDL Court to enter an

  assessment percentage very early in the case.6 But contrary to the process adopted



  4
   Memorandum at 4-6 describing the nature of the work performed to date. The Court
  may take judicial notice of the quantity and quality of work to determine an
  assessment is properly ordered.
  5
   The PSC’s role is not to litigate case specific matters, which typically occur later,
  except for the PSC’s involvement in bellwether cases.
  6
    Memorandum at 13, n.7. See, e.g., In re Syngenta AG MIR 162 Corn. Litig., No.
  14-2591, 2015 WL 2165341, at *6 (D. Kan. May 8, 2015) (overruling objections to
  “different percentages for Participating Counsel based on when such counsel signed
  a participation agreement” and concluding “that there is a benefit to encouraging
  early participation in the common benefit scheme”); Bextra, Dkt. No. 2507
  (specifying higher assessment for later participation); In re General Motors LLC
  Ignition Switch Litig., No. 14-2543, Dkt. No. 743 (S.D.N.Y. Mar. 26, 2015) (same);
  In re Guidant Defibrillators Prod. Liab. Litig., No. 05-1708, 2006 WL 409229, at
  *3 (D. Minn. Feb. 15, 2006) (same); In re Yaz Prods. Liab. Litig., MDL No. 2100
  (CMO 14) (S.D. Ill. Mar. 25, 2010); In Re: Testosterone Replacement Therapy
  Products Liability Litigation, MDL No. 1748 (N. D. Ill.); In Re: Juul Labs, Inc.,
  Prod. Liab. Lit., Dkt 586 at ¶ 37 (N.D. Cal).


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  and judicially approved in many other cases, here, the PSC waited almost three full

  years since the entry of CMO-7 (entered August 9, 2017) to request the entry of

  CMO-7(A) to set a percentage assessment.7 Clearly, the PSC is not jumping the gun

  in asking that an assessment percentage be set at this time. Moreover, whatever

  percentage is set now will be subject to review by the Court at the time any

  disbursement is ordered for common benefit fees and expenses.8


  II.   ARGUMENT




  7
    By comparison, in Juul, the MDL court entered the assessment order only a few
  months after that MDL was established, and while In Re: Aqueous Film-Forming
  Foams Products Liability Litigation, MDL 2873, is a bit more mature, the entry of
  the common benefit assessment order in that case has occurred prior to any
  settlements and while the case remains in an early stage.
  8
    See, proposed CMO 7(A) at ¶¶ 47-48 (“47. No amounts will be disbursed without
  review and approval by the Court, or such other mechanism as the Court may order.
  Specifically, such sums shall be distributed only upon Order of the Court in MDL
  No. 2738. 48. At an appropriate time, this Court expects to appoint a Common
  Benefit Fee and Expense Committee for the development of guidelines and criteria
  that will be utilized in connection with recommendations that will be made to this
  Court to govern the content of a Common Benefit fee petition, including the
  evaluation of all time and expense submissions that were made to the Administrator.
  This Court will enter an Order in the future relating to these issues”). See also,
  Memorandum at 8 (“The resulting “common benefit doctrine” empowers the district
  courts to apportion such fees and costs among all beneficiaries as a matter of federal
  equity jurisdiction and is the long-standing principle that modern MDL courts have
  adopted and operationalized through common benefit orders. See, e.g., In re Bextra
  & Celebrex Mkt. Sales Prac. & Prod. Liab. Litig., No. 05-1699, 2006 WL 471782,
  at *1 (N.D. Cal. Feb. 28, 2006); In re Chinese-Manufactured Drywall Prod. Liab.
  Litig., No. CV 09-4115, 2020 WL 128589, at *25 (E.D. La. Jan. 10, 2020)).



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        A.     The PSC’s Motion Adequately Supports the Magnitude and Scope
               of the Proposed Assessment Percentage

        To the extent Objectors suggest an assessment percentage cannot be set until

  the end of a case in order to be able to determine a reference for the amount of the

  assessment in context to the value of the settlement(s), this is misleading as to what

  the PSC is attempting to accomplish by the entry of CMO-7(A). As the PSC has

  stated, what it seeks is a percentage which protects the work and expenses of the

  common benefit attorneys. The instant Motion does not seek to establish a final

  percentage, nor is there a request for the disbursement of or allocation of money.

  Indeed, there are no settled cases now that would be subject to the assessment

  proposed in CMO-7(A) to even be able to consider what the final percentage should

  be and any allocation of money.

        Objectors’ argument that the PSC erred in failing to provide a reference point

  for the proposed assessment percentage in this case and that the PSC erred by instead

  referencing the final assessment percentages in other cases is also misleading. The

  PSC recognizes that if this case resolves, it may do so as a “mega-fund” case. The

  chart of cases included in the Memorandum, includes mega-fund cases that resolved

  and an analysis of percentages from those cases.9 The law reflects that as the value



  9
    Memorandum at 11-13 (Citing, In Re Diet Drugs (multi-billion-dollar settlement);
  In re Vioxx (multi-billion dollar settlement) and cases settling at “nine-figure”
  (exceeding $100 million) amounts, like Praxada, Fresenius, and Testosterone.

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of a case increases and reaches mega-fund status, the percentage assessment

necessarily may go down because the percentage is being applied against a larger

recovery, thereby generating an amount of holdback that would be expected to be

sufficient to compensate the attorneys performing common benefit work and

incurring common benefit expenses. In other words, the larger a global settlement

amount, the lesser the percentage may have to be. However, the PSC’s motion also

reflects that as cases resolve for lesser amounts and do not reach a mega fund status,

the percentage assessment may be higher to generate sufficient money to

compensate for common benefit work and expenses. The PSC has provided the

Court with a balanced analysis of cases and assessments as guidance for what the

PSC believes is an appropriate assessment for now, pending adjustment by the Court

later if necessary.10

         Presently, there are no settlements in this MDL nor any that would be subject

to the proposed assessment order and percentage. But as developments occur – it is

possible that some cases could settle. Were that to occur, Defendants will need to

know before disbursing settlement funds if there is any holdback to be paid to the

Court-appointed escrow agent as an assessment; for once money is paid without an

assessment, obtaining the return of the money could be very complicated and




10
     See Memorandum at 9-14.

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difficult. Setting a percentage now as a placeholder is therefore a critical and

responsible step to take.

        The PSC here has suggested a fair and reasonable place holder assessment

percentage to be applied. Were this percentage to prove to be too high at a later stage

of the litigation, the percentage can be reduced prior to the Court awarding any fees

and costs, thereby addressing Objectors’ concern about a refund possibility.

However, were the percentage to be set too low now, increasing it later is much more

complicated. The PSC has not taken license to request an overtly high percentage,

but in terms of erring on one side or the other, e.g., erring on a too high percentage

that still allows for a refund versus erring on too low a percentage that may not be

capable of being cured, erring in the former manner is preferable, and certainly the

percentage suggested falls well within the range of mega fund case percentages.

        B.    The PSC Provided Valid Justification for a Graduated Assessment
              Percentage
        Next, Objectors argue the PSC failed to support why a graduated percentage

assessment is justified. To the contrary, the PSC proposal is supported by numerous

cases which utilized an “Early Participation” percentage and a “Late Participation”

approach.11




11
     See, Memorandum at 13, n. 7.

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      As outlined in the PSC’s motion and memorandum, the justification for

having two different percentages is to prevent Plaintiffs from gaming the

circumstances by withholding an agreement to have their cases assessed with the

hope they may be able to resolve cases without having to pay any assessment, and

failing that, to then agree to an assessment because that becomes the only way for

them to resolve their cases. Permitting counsel to unfairly game the system should

not be countenanced. Therefore, for counsel who do not make a decision to

participate within a reasonable period of time to qualify as an “Early Participant”

and choose to sit on the sidelines should not be permitted to gain access to the work

product at the same assessment rate as others who agreed to be assessed from the

outset. Setting a different assessment percentage for those who hold back on the

sidelines is a matter of fundamental fairness.

      A dual percentage provides an incentive for Plaintiffs to be “Early

Participants.” Without that incentive and an across the board singular percentage,

there is a risk that too many Plaintiffs may choose not to participate and wait, in

which case a single percentage would need to be higher. This is simple math. As

more plaintiffs participate early, the percentage for them can be lower and still create

a sufficient fund to compensate for the common benefit work and expenses. If less

plaintiffs participate early, the percentage needs to be higher to create the same fund

amount. The dual percentage proposed here, which has been adopted by many



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Courts in other litigations, provides a slight discount for early participation and a

slight penalty for late participation, compared to a single percentage that would have

to be set somewhere in the middle. This explains why dual percentage approaches

have been approved.12

      C.     The PSC’s Proposal Does Not Impermissibly Provide for
             Withholding of Fees and Expenses in State Court Cases Over
             Which This MDL Has No Jurisdiction
      Objector’s third argument relates to the mechanics of the application of the

assessment to state court cases. The Objectors misconstrue what is requested by the

PSC’s Motion.

      The Motion provides for an assessment against all cases of all counsel who

agree to participate. Counsel have the freedom to choose to participate at the early

or late participation rate, or not participate at all. If they choose not to participate,

but have cases in the MDL, those cases will still be assessed because this MDL Court

has jurisdiction over those cases. But there is no effort by the PSC to assess state

court cases of counsel who choose not to participate at all. However, those counsel

are not permitted to use the common benefit work product in their state court cases,




12
   The PSC again notes that what is at issue is establishing a mechanism for
protecting the work-product that the common benefit counsel have created. The
reason for the structure described is to protect this work product from “free” use and
from gaming.

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with the proposed penalty for doing so being set at the equivalent of the late

participation assessment percentage.

        If, however, a counsel chooses to participate, thereby giving such counsel the

ability to use the common benefit work in their state court cases as well as in their

MDL cases, that voluntary action by the counsel acts as a consent for their state court

cases to be assessed.13 There is no request that this Court exercise jurisdiction over

state court cases where the counsel does not agree to be a participating attorney. If

counsel agrees to be a participating attorney, the jurisdiction of the Court is over the

attorney and the common work product and not the actual state court cases per se.14

        D.    The PSC’s Proposal Does Not Impermissibly Empower the PEC to
              Unilaterally Modify the Proposed Percentages
        The Objector’s fourth argument relates to the PEC purportedly reserving for

itself a right to modify the assessment percentage on its own. This is a complete

misunderstanding of the proposed CMO-7(A) as submitted.

        The Proposed Order provides:

          This assessment represents a hold back pursuant to In re Zyprexa
          Prods. Liab. Litig., 467 F.Supp.2d 256, 266 (2d. Cir. 2006), and shall
          not be altered in any way unless each of the following occurs: (1) the
          PSC is consulted and provided an opportunity to be heard at a
          formally announced meeting prior to the filing of any motion to
          change the assessment amount; (2) the PSC approves the proposed
          change to the assessment by a majority vote of the PSC; (3) a noticed

13
     See Memorandum at 15-19.
14
     Memorandum at 18-19 (citing In re Bausch & Lomb, MDL 1785 (D.S.C. 2008).

                                          11
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          motion (including notice to Defendants’ Counsel) with an opportunity
          to be heard is granted by the Court, and (4) this Court, upon good-
          cause shown, amends this Order.

See, Proposed Order at ¶ 28 (emphasis added).

         This makes clear that there are a number of required steps to change

assessment percentages and, even after the occurrence of these steps, a change in the

percentage still requires this Court to amend the Order. Thus, assuming the Court

enters the proposed Order as submitted, the PSC will not be accorded some mythical

unilateral power to change the assessment percentage. And, whatever the percentage

may be, it is a placeholder pending a formal petition for an award of fees and costs

to be submitted at a later date, where the Court can determine what the final

percentage should be.

         E.    The PSC’s Proposal Does Not Need to Address at This Time A
               Mechanism for The Refund of Excess Fees and Expenses That May
               Be Escrowed
         Objectors’ final objection is that the Motion and proposal fails to provide a

mechanism for the refund of any excess fees and expenses withheld. This objection

is premature. Moreover, as made clear, no disbursement can occur without a Court

order.

         The usual procedure in MDL cases with an assessment, and what will occur

in this case, is that if and when a time comes for the Court to order the release of

money from the assessment account, the PEC/PSC fully expects to file a formal fee



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petition setting forth the relevant law and facts to support an award of fees and

expenses and the release of money from the escrow accounts.

      The fee petition will be based on information about the total of time expended

in the case with a lodestar computation cross check, and costs expended. The fee

petition will explain what the PSC contends is the fair and reasonable gross fee to

be awarded based on the facts and a lodestar cross check and will compare that

amount against the amount withheld through assessments. The fee petition will

consider all relevant law governing an award of fees, including percentages in mega

fund cases if this case resolves within the criteria of a mega fund case.

      In the event the percentage assessed is inappropriate when considering all

factors, it is expected that the PSC will ask the Court to modify the percentage

accordingly. Were this needed, it is possible that the percentage may need to be

reduced or increased; though, as previously noted, increasing a percentage after the

fact presents the difficulty of how to recover money already paid out. However, if

a reduction in the percentage is appropriate, the Court can consider a mechanism to

accomplish that result.15 At present, the PSC has made a good faith estimate of what



15
   Since the assessment is against an attorney’s private contingent fee percentage,
were a refund to be warranted, the refund would be paid to the attorney who
experienced an assessment against the private fee for the case. Because attorneys
may be representing numerous plaintiffs in this litigation, the assessment will
involve withholding a known amount for the attorney associated with the aggregate
of that attorney’s cases. If the percentage assessment is reduced, the escrow agent,

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the percentage should be, recognizing that the percentage may need to be adjusted if

and when cases settle, so that the amount of the fund collected is commensurate with

the work performed.

      As an aside, the PSC notes that many cases like this ultimately end-up settling

pursuant to a global opt-in voluntary settlement agreement. When a case settles in

that fashion, (and such a settlement usually involves a requirement that a certain

percentage of cases participate), a known global value for the case is set and the

application of the percentage assessment will provide a known fund amount. Even

if there is no global settlement, but settlements involving individual law firms,

typically such a settlement requires that a certain percentage of plaintiffs participate

in order to effectuate the settlement. The process, whether in relation to a global

settlement of this entire MDL or individual settlements involving cases of a law firm,

typically requires a minimum participation rate before the exchange of any money.

      Once the amount of money that is being set aside is known, from the

aggregation of individual settlements or a global settlement, the fee petition will then

be based on the money held by a Qualified Settlement Administrator. There is no

reason to expect that this case will not follow this typical pattern, which will afford

the Objectors here (and any in the future who may object to the final fee petition) a



Mr. Winikur, could calculate the overage withheld by attorney and calculate a refund
amount. Doing this should not be overly complicated, if necessary.

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procedure to raise any issues they may have regarding the assessment and fee

petition. There will an appropriate time for objections to a fee petition to be made,

but now is not that time. The Objectors have simply jumped the gun with their

premature objection to the Motion.

       Finally, the Participation Agreement makes clear that there will be no

disbursement without a Court Order and that a Fee Committee mechanism is

expected to be established to determine fees, costs, allocation, and a final

percentage.16


III.   CONCLUSION

       For the reasons set forth above and in the PSC’s Motion, the PSC respectfully

requests the Court enter proposed CMO-7(A).

Dated:       June 29, 2020             Respectfully submitted,

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                                       P. Leigh O’Dell

16
  See, proposed Participation Agreement, at Section VI. “Distribution of Fees”, ¶¶
33-35 (Exhibit A to the Motion).

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